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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI-DADE DIVISION

                                                          CASE NO.:
  HOWARD COHAN,

         Plaintiff,

  vs.                                                     INJUNCTIVE RELIEF SOUGHT

  JAPAN INN DORAL, LLC,
  d/b/a JAPAN INN,

        Defendant.
  ___________________________/

                                            COMPLAINT

         Plaintiff, HOWARD COHAN (“Plaintiff”), by and through undersigned counsel, hereby

  files this Complaint and sues JAPAN INN DORAL, LLC d/b/a JAPAN INN (“Defendant”), for

  declaratory and injunctive relief, attorneys’ fees, expenses and costs (including, but not limited to,

  court costs and expert fees) pursuant to 42 U.S.C. §12182 et. seq., and the 2010 Americans with

  Disabilities Act (“ADA”) and alleges as follows:


                                   JURISDICTION AND VENUE

         1.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §1331 for Plaintiff’s claims arising under Title 42 U.S.C. §12182 et. seq., based on Defendant’s

  violations of Title III of the ADA. See also 28 U.S.C. §§2201 and 2202 as well as the 2010 ADA

  Standards.

         2.      Venue is proper in this Court, Miami Division, pursuant to 28 U.S.C. §1391(B) and

  the Internal Operating Procedures for the United States District Court for the Southern District of

  Florida in that all events giving rise to the lawsuit occurred in Miami-Dade County, Florida.



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                                                   PARTIES

          3.      Plaintiff, HOWARD COHAN is a resident of the state of Florida residing in Palm

  Beach County, Florida, and is otherwise sui juris.

          4.      Upon information and belief, Defendant is the lessee, operator, owner and/or lessor

  of the Real Property, which is subject to this lawsuit, and is located at 1790 NW 107th Avenue,

  Doral Florida 33172 (“Premises”) and is the owner of the improvements where the Premises is

  located.

          5.      The Premises is a place of public accommodation.

          6.      Defendant is authorized to conduct, and is in fact conducting, business within the

  state of Florida.

          7.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

  basal joint arthritis of the left thumb. As a result of these medical conditions, Plaintiff suffers body

  weakness, mobility limitations, abnormal gate, and abnormal balance. Additionally, his ability to

  lift, reach, bend, stretch, and twist are all substantially restricted.

          8.      At the time of Plaintiff’s visit to the Premises on May 17, 2023 (and prior to

  instituting this action), Plaintiff suffered from a “qualified disability” under the ADA and required

  the use of a handicap parking space and the use of other means of accessibility for persons with

  disabilities. Plaintiff personally visited the Premises, but was denied full and equal access and full




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  and equal enjoyment of the facilities, services, goods and amenities within the Premises, even

  though he was a “bona fide patron”.

          9.      Plaintiff, in his individual capacity, will absolutely return to the Premises in the

  near future and avail himself to the services offered at the Premises when Defendant modifies the

  Premises or modifies the policies and practices to accommodate individuals who have physical

  disabilities.

          10.     Plaintiff is continuously aware of the violations at Defendant’s Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

          11.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant’s discrimination until Defendant is compelled to comply with the requirements

  of the ADA.

          12.     Plaintiff would like to be able to be a patron of the Premises in the near future and

  be able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendant’s discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

  at the Premises to eliminate the discrimination against persons with physical disabilities.

          13.     Completely independent of his personal desire to have access to this place of public

  accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

  discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers of access to determine whether and



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  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

  discrimination; and subsequently returns to the Premises in the near future to verify its compliance

  or non-compliance with the ADA and to otherwise use the public accommodation as members of

  the able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also

  intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,

  and its maintenance of the accessible features of the Premises. In this instance, Plaintiff, in

  Plaintiff’s individual capacity and as a “tester”, visited the Premises, encountered barriers to access

  at the Premises, engaged and tested those barriers, suffered legal harm and legal injury and will

  continue to suffer such harm and injury as a result of the illegal barriers to access and the violations

  of the ADA set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

  Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

          14.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendant modifies the Premises or modifies the policies and practices to accommodate

  individuals who have physical disabilities to confirm said modifications have been completed in

  accordance with the requirements of the ADA.

                VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

          15.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 14

  above as if fully stated herein.

          16.     On July 26, 1990, Congress enacted the ADA, 42 U.S.C. §12101 et. seq.

  Commercial enterprises were provided one and a half (1.5) years from enactment of the statute to

  implement its requirements. The effective date of Title III of the ADA was January 26, 1992, or

  January 26, 1993 if Defendant has ten (10) or fewer employees and gross receipts of $500,000.00

  or less. See 42 U.S.C. §12182; see also 28 C.F.R. §36.508(a).



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         17.      Congress found, among other things, that:

               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;

               b. historically, society has tended to isolate and segregate individuals with disabilities

                  and, despite some improvements, such forms of discrimination against disabled

                  individuals continue to be a pervasive social problem, requiring serious attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,

                  recreation, institutionalization, health services, voting and access to public services

                  and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices, exclusionary qualification standards and criteria,

                  segregation, and relegation to lesser services, programs, benefits, or other

                  opportunities; and

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to

                  pursue those opportunities for which our country is justifiably famous, and costs

                  the United States billions of dollars in unnecessary expenses resulting from

                  dependency and nonproductivity.

  42 U.S.C. §12101(a)(1)-(3),(5) and (9).

         18.      Congress explicitly stated that the purpose of the ADA was to:



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                a. provide a clear and comprehensive national mandate for elimination of

                   discrimination against individuals with disabilities;

                b. provide clear, strong, consistent, enforceable standards addressing discrimination

                   against individuals with disabilities; and

                c. invoke the sweep of congressional authority, including the power to enforce the

                   fourteenth amendment and to regulate commerce, in order to address the major

                   areas of discrimination faced on a daily basis by people with disabilities.

  42 U.S.C. §12101(b)(1)(2) and (4).

          19.      Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

  Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

  provides services to the general public and must be in compliance therewith.

          20.      Defendant has discriminated, and continues to discriminate against Plaintiff and

  others who are similarly situated by denying access to and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as

  prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).

          21.      Plaintiff has visited the Premises and has been denied full and safe equal access to

  the facilities, and therefore suffered an injury in fact.

          22.      Defendant’s policies, practices, procedures and/or lack of training its staff to

  efficiently and effectively identify and reasonably modify its services creates an environment

  where individuals with disabilities are not provided goods and services in the most integrated way

  possible.




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          23.      Plaintiff will return to the Premises in the near future and enjoy the goods, services,

  facilities, privileges, advantages and/or accommodations at the Premises on a planned, or a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by Defendant’s

  failure and refusal to provide persons with disabilities with full and equal access to its facilities at

  the Premises. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.

          24.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

  of Justice, Office of the Attorney General promulgated Federal Regulations to implement the

  requirements of the ADA. See 28 CFR §36 and its successor the 2010 ADA Accessibility

  Guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, under which said Department

  may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00 for each

  subsequent violation.1

          25.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

  as a result of, inter alia, the following specific violations found in the Outdoor Seating Area:

                a. Failing to provide seating for a person with a disability that has the correct clear

                   floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305

                   and 306 and/or §§4.2.4, 4.2.5, 4.32.2 and 4.5 of the 1991 ADA Standards.

                b. Failing to provide a sufficient amount of seating when dining surfaces are provided

                   for the consumption of food or drink for a person(s) with a disability in violation of




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   Effective April 1, 2014 the civil penalties were increased, based on inflation, from $55,000.00 to
  $75,000.00 for the first violation and from $110,000.00 to $150,000.00 for subsequent violations.
  See 28 C.F.R. §§36 and 85.


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                  2010 ADAAG §§226, 226.1, 902, 305 and 306 and/or §5.1 of the 1991 ADA

                  Standards.

               c. Failing to provide a sufficient dispersion of seating throughout the facility when

                  dining surfaces are provided for the consumption of food or drink for a person(s)

                  with a disability in violation of 2010 ADAAG §§226, 226.2, 902, 305 and 306.

         26.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

  as a result of, inter alia, the following specific violations found in the Indoor Bar and Bar Area:

               a. Providing counter heights exceeding 36 inches making it impossible to service a

                  person with a disability in violation of 2010 ADAAG §§904, 904.4, 904.4.1 and

                  904.4.2 and/or §§4.32.4, 5.2, 5.3 and 5.4 of the 1991 ADA Standards.

               b. Failing to provide the correct height for accessible seating or work surface use for

                  person(s) with a disability at a bar or adjacent table in the bar area, a baby changing

                  table, a recreational area or table area adjacent to a pool for food or beverage

                  service, or at a computer work surface in violation of 2010 ADAAG §§902, 902.1,

                  902.2, 902.3, 305, 306 and/or §4.32.4 of the 1991 ADA Standards.

               c. Failing to provide seating for a person with a disability that has the correct clear

                  floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305

                  and 306 and/or §§4.2.4, 4.2.5, 4.32.2 and 4.5 of the 1991 ADA Standards.

               d. Failing to provide a sufficient amount of seating when dining surfaces are provided

                  for the consumption of food or drink for a person(s) with a disability in violation of

                  2010 ADAAG §§226, 226.1, 902, 305 and 306 and/or §5.1 of the 1991 ADA

                  Standards.



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               e. Failing to provide a sufficient dispersion of seating throughout the facility when

                  dining surfaces are provided for the consumption of food or drink for a person(s)

                  with a disability in violation of 2010 ADAAG §§226, 226.2, 902, 305 and 306.

         27.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

  as a result of, inter alia, the following specific violations found in the General Area of the Men’s

  Restroom:

               a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                  exceeding the limits for a person with a disability in violation of 2010 ADAAG

                  §§404, 404.1, 404.2, 404.2.9 and 309.4 and/or §4.13.11 of the 1991 ADA

                  Standards.

               b. Failing to provide a paper towel dispenser or its operable part at the correct height

                  above the finished floor in violation of 2010 ADAAG §§606, 606.1 and 308 and/or

                  §§4.16.6, 4.27, 4.27.3, 4.22.7 and 4.23.7 of the 1991 ADA Standards.

               c. Failing to provide the correct spacing for a forward or parallel approach to an

                  element due to a wall or some other obstruction in violation of 2010 ADAAG §§305

                  and 306 and/or §4.2.4.1 of the 1991 ADA Standards.

               d. Failing to provide proper knee clearance for a person with a disability under a

                  counter or sink element in violation of 2010 ADAAG §§306, 306.1, 306.3 and

                  306.3.1 and/or §4.24.3 of the 1991 ADA Standards.

               e. Failing to provide the operable part of a soap dispenser or hand sanitizer dispenser

                  at the correct height above the finished floor in violation of 2010 ADAAG §§606,

                  606.1 and 308 and/or §4.16.6 and 4.27.3 of the 1991 ADA Standards.



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                 f. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                    exceeding the limits for a person with a disability in violation of 2010 ADAAG

                    §§404, 404.1, 404.2, 404.2.9 and 309.4 and/or §4.13.11 of the 1991 ADA

                    Standards.

           28.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

   U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

   as a result of, inter alia, the following specific violations found in the Accessible Stall of the Men’s

   Restroom:

                 a. Failing to provide sufficient clear floor space around a water closet without any

                    obstructing elements in this space (trash can) in violation of 2010 ADAAG §§603,

                    603.2, 603.2.3, 604, 604.3 and 604.3.1 and/or §§4.16, 4.16.2, 4.22 and 4.22.3 of the

                    1991 ADA Standards.

                 b. Failing to provide the correct opening width for a forward approach into a urinal,

                    stall door or lavatory in violation of 2010 ADAAG §§305, 305.7.1, 404, 605.3 and

                    606.2 and/or §§4.18.3 and 4.2.5 of the 1991 ADA Standards.

                 c. Failing to provide the proper insulation or protection for the plumbing or other

                    sharp or abrasive objects under a sink or countertop in violation of 2010 ADAAG

                    §§606 and 606.5 and/or §4.24.6 of the 1991 ADA Standards.

                 d. Failing to provide operable parts that are functional or are in the proper reach ranges

                    as required for a person with a disability (missing door handle) in violation of 2010

                    ADAAG §§309, 309.1, 309.3 and 309.4 and/or §§4.27, 4.27.3 and 4.27.4 of the

                    1991 ADA Standards.




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                e. Failing to provide operable parts that are functional or are in the proper reach ranges

                   as required for a person with a disability (door lock) in violation of 2010 ADAAG

                   §§309, 309.1, 309.3 and 309.4 and/or §§4.27, 4.27.3 and 4.27.4 of the 1991 ADA

                   Standards.

                f. Failing to provide the proper spacing between a grab bar and an object projecting

                   out of the wall (toilet cleaning dispenser) in violation of 2010 ADAAG §§604,

                   604.5, 604.5.1, 604.5.2, 609, 609.3 and 609.4 and/or §§4.16.4, 4.26 and 4.26.2 of

                   the 1991 ADA Standards.

                g. Providing grab bars of improper horizontal length or spacing on the back or side

                   wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1, 604.5.2, 609 and 609.4

                   and/or §§4.26 and 4.26.2 of the 1991 ADA Standards.

                h. Failing to provide toilet paper dispensers in the proper position in front of the water

                   closet or at the correct height above the finished floor in violation of 2010 ADAAG

                   §§604, 604.7, 604.9.6, 309.4 and/or §4.16.6 of the 1991 ADA Standards.

                i. Failing to provide a coat hook within the proper reach ranges for a person with a

                   disability in violation of 2010 ADAAG §§603, 603.4 and 308 and/or §§4.25.3, 4.2.5

                   and 4.1.3 of the 1991 ADA Standards.

          29.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

   U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

   as a result of, inter alia, the following specific violations found in the Restaurant Seating Area:

                a. Failing to provide seating for a person with a disability that has the correct clear

                   floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305

                   and 306 and/or §§4.2.4, 4.2.5, 4.32.2 and 4.5 of the 1991 ADA Standards.



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                b. Failing to provide a sufficient amount of seating when dining surfaces are provided

                   for the consumption of food or drink for a person(s) with a disability in violation of

                   2010 ADAAG §§226, 226.1, 902, 305 and 306 and/or §5.1 of the 1991 ADA

                   Standards.

                c. Failing to provide a sufficient dispersion of seating throughout the facility when

                   dining surfaces are provided for the consumption of food or drink for a person(s)

                   with a disability in violation of 2010 ADAAG §§226, 226.2, 902, 305 and 306.

          30.      To the best of Plaintiff’s belief and knowledge, at the time of filing this lawsuit

   Defendant has failed to eliminate the specific violations set forth in paragraphs 25, 26, 27, 28 and

   29 above.

          31.      Although Defendant is charged with having knowledge of the violations, Defendant

   may not have had actual knowledge of said violations until this Complaint made Defendant aware

   of same.

          32.      To date, the readily achievable barriers and violations of the ADA still exist and

   have not been remedied or altered in such a way as to effectuate compliance with the provisions

   of the ADA.

          33.      As the owner, lessor, lessee or operator of the Premises, Defendant is required to

   comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

   prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

   obligation to remove architectural barriers at the Premises where removal was readily achievable,

   as required by 28 C.F.R. §36.402.

          34.      To the extent the Premises, or portions thereof, were constructed for occupancy

   after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation



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   to design and construct such Premises such that it is readily accessible to and usable by individuals

   with disabilities, as required by 28 C.F.R. §36.401.

          35.      Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendant

   was required to make the Premises, a place of public accommodation, accessible to persons with

   disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendant has failed

   to comply with this mandate.

          36.      Plaintiff has retained undersigned counsel for the filing and prosecution of this

   action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

   Defendant, pursuant to 42 U.S.C. §12205.

          37.      The violations alleged in paragraphs 25, 26, 27, 28 and 29 above are readily

   achievable to modify in order to bring the Premises or the Facility/Property into compliance with

   the ADA.

          38.      In the instances where the 2010 ADAAG Standards do not apply to the violations

   listed in paragraphs 25, 26, 27, 28 and 29 above, the 1991 ADA Standards apply.

          39.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff’s injunctive relief, including entering an Order to alter the Premises to make them readily

   accessible to and useable by individuals with disabilities to the extent required by the ADA and

   closing the Premises until the requisite modifications are completed.

          WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

   injunctive and declaratory relief:

                1. This Court declare that the Premises owned, operated and/or controlled by

                   Defendant is in violation of the ADA;




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            2. This Court enter an Order requiring Defendant to alter the Premises and/or its

               facilities to make them accessible to and usable by individuals with disabilities to

               the full extent required by Title III of the ADA;

            3. This Court enter an Order directing Defendant to evaluate and neutralize its

               policies, practices and procedures toward persons with disabilities, for such

               reasonable time so as to allow Defendant to undertake and complete corrective

               procedures to the Premises;

            4. This Court award reasonable attorneys’ fees, all costs (including, but not limited to

               the court costs and expert fees) and other expenses of suit to Plaintiff; and

            5. This Court award such other and further relief as it may deem necessary, just and

               proper.



   Dated:        6/22/2023

                                              Respectfully submitted by:


                                              BY:     s/ Jason S. Weiss
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